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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :
FEDERAL TRADE COMMISSION, STATE OF NEW :
YORK, STATE OF CALIFORNIA, STATE OF    :
OHIO, COMMONWEALTH OF PENNSYLVANIA,    :
STATE OF ILLINOIS, STATE OF NORTH      :
CAROLINA, and COMMONWEALTH OF          :
VIRGINIA,                              :
                                       :
                    Plaintiffs,        :
                                       :
          -v-                          :
                                       :             20cv00706 (DLC)
VYERA PHARMACEUTICALS, LLC, AND        :
PHOENIXUS AG, MARTIN SHKRELI,          :                   ORDER
individually, as an owner and former   :
director of Phoenixus AG and a former :
executive of Vyera Pharmaceuticals,    :
LLC, and KEVIN MULLEADY, individually, :
as an owner and former director of     :
Phoenixus AG and a former executive of :
Vyera Pharmaceuticals, LLC,            :
                                       :
                    Defendants.        :
                                       :
-------------------------------------- X

DENISE COTE, District Judge:

      In a letter of January 22, 2021, defendant Martin Shkreli

moved to compel the plaintiffs to produce any and all

transcripts that they have created of the audio recordings they

obtained from the federal Bureau of Prisons (“BOP”) of Shkreli’s

telephone calls.   The plaintiffs produced the recordings to the

parties in this litigation.    The plaintiffs oppose this

application in their letter today.      It is hereby
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     ORDERED that Shkreli’s motion to compel is denied.         The

transcripts are protected by the work product privilege.

     IT IS FURTHER ORDERED that Shkreli must exhaust the meet

and confer process before making further applications and in any

further application describe how he has done so.



Dated:    New York, New York
          January 25, 2021




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